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                                                    UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF SOUTH CAROLINA

IN RE:                                                                          CASE NO: 17-04610-jw
                                                                                CHAPTER 13
Callahan, Stephanie Marie
f/k/a Stephanie Callahan Frazzitta                                 NOTICE      OF     PLAN      MODIFICATION          BEFORE
Last Four Digits of SSN: 1006                                      CONFIRMATION, MOTIONS TO
                                                                   VALUE SECURITY, AVOID JUDICIAL LIEN,
                                                                   AVOID A NONPURCHASE-MONEY, NON-
                                                                   POSSESSORY SECURITY INTEREST AND LIEN,
                                                                   AND / OR TO ASSUME OR REJECT AN
                                                   DEBTOR(S) EXECUTORY CONTRACT/UNEXPIRED LEASE
     I.     NOTICE TO AFFECTED CREDITORS AND PARTIES IN INTEREST: The above captioned debtor 1 previously
      proposed a chapter 13 plan and motions; the debtor now moves, pursuant to 11 U.S.C. §1323 and Fed. R. Bankr. P.2002(a)(5)
      and 2002(b), to modify the proposed plan and motions as detailed below:

              Changes Made: Increase value of secured claim filed by Wells Fargo

              Reason(s) for Change: Resolve objection to valuation of vehicle

              Specific Creditor(s) Directly Affected by Change: Wells Fargo Dealer Services

      This modification to the chapter 13 plan and motions, and the remaining terms of the chapter 13 plan and motions set forth
      below, may affect your rights. Failure to object may constitute an implied acceptance of and consent to the relief requested.

          A. ADDITIONS, MODIFICATIONS, OR DELETIONS: All additions or modifications to the Courts form plan (See
exhibits to SC LBR 3015-1 and 3015-2, SC LBR refers to the SC Local Bankruptcy Rules, available at www.scb.uscourts.gov)
are highlighted by italics. Deletions are noted as Not Applicable or by striking through the deleted provisions. If changes are
substantial or if an alternative plan is proposed, a cover sheet that summarizes and identifies the changes shall be filed and served
herewith.

          B. DEADLINE FOR FILING OBJECTIONS, NOTICE OF HEARING ON CONFIRMATION OF CHAPTER 13
PLAN AND MOTIONS: Objections to the motions and any provision of the plan must be made in accordance with SC LBR
9014-1, properly served, and filed with the United States Bankruptcy Court, 1100 Laurel Street, Columbia, SC 29201, within
twenty-eight (28) days from the date this document is served. Timely objections will be heard at the confirmation hearing, notice
of which is given separately in the Notice of Meeting of Creditors. If a timely objection is filed after the confirmation hearing, a
separate hearing on the objection will be scheduled and notice of such a hearing will be given. If no timely objection is filed, the
Court, upon recommendation of the chapter 13 trustee and without further hearing or notice, may enter an order confirming the
plan and granting the motions.

II. MOTION TO VALUE SECURITY, AVOID JUDICIAL LIEN, AVOID A NONPURCHASEMONEY,
NONPOSSESSORY SECURITY INTEREST AND LIEN, AND/OR TO ASSUME OR REJECT AN EXECUTORY
CONTRACT/UNEXPIRED LEASE. The debtor requests that confirmation of this plan alter the rights of the following
creditor:

         A. Nonpossessory, Nonpurchase-Money Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid the
following nonpossessory, nonpurchase-money security interest and lien in household goods:

 Name of creditor and       Value of     Total of                                      Estimated            Security interest        Security interest
description of property Debtors interest all other Exemption                             security           Not avoided (see        to be avoided (see
     securing lien        in property      liens                                      interest/debt         IV(B)(4) below)            IV(E) below)
NONE

              B. Judicial Lien: The debtor moves, pursuant to 11 U.S.C. § 522(f), to avoid the following judicial lien: 2



1
    When used herein, the term "debtor" shall apply as applicable either in the singular or in the plural, if there are joint debtors in the case.
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                                              Total of all                                        Value of the
Name of creditor and                Estimated                      Applicable                                  Judicial
                                              senior/                                             debtors                     Judicial lien
description of property             judicial                       Exemption and Code                          lien not
                                              unavoidable                                         interest in                 avoided
securing lien                       lien                           Section                                     avoided
                                              liens                                               property
Bank of America
FIA Card Services                                                       15-41-30(A)(1) $59,100
                                     $7,804.00       $418,396.00                                    $50,000.00      -0-         $7,804.00
2226 Magnolia Meadows Dr.                                               15-41-30(A)(7) $4,600
Mt. Pleasant, SC




C. Valuation of Security: The debtor moves, in accordance with 11 U.S.C. § 506, to establish the value of a lien as follows:


                                        Value of
      Name of creditor and                                Holder and                                             Unsecured claim after
                                        Debtors                                Estimate of Value of lien (see
     description of property                               amount of                                              valuation (see IV(E)
                                       interest in                           creditors claim IV(B)(4) below)
          securing lien                                  superior liens                                                  below)
                                        property
Wells Fargo Dealer Services
                                        $9.400.00            NONE              $12,058.00         $10,750.00              $1,558.00
2012 Honda Accord



           D. Assumption or Rejection of Executory Contract/Unexpired Lease: The debtor moves for the assumption of the
following executory contract and/or unexpired lease. The debtor agrees to abide by all terms of the agreement and to cure any
pre-petition arrearage or default in the manner below. Any executory contract or unexpired lease not specifically mentioned is
rejected.

Name of Creditor and             Amount          Estimated amount         Cure Provisions for any      Regular payments to be paid by
lease or contract to be         of regular       of Default (state if     default paid by (Debtor        Debtor directly to creditor
       assumed                   payment               none)                    or trustee)               beginning (month/year)
NONE



III. THE CHAPTER 13 PLAN: PAYMENT OBLIGATIONS OF THE DEBTOR.

           A. Payments from the debtor to the chapter 13 trustee (the trustee): The debtor submits to the supervision and control of
the trustee all or such portion of future earnings or other future income as is necessary for the execution of the plan. In addition,
the debtor will pay to the trustee any portion of a recovery under a pre-petition claim or cause of action that constitutes disposable
income or is not exempt.

           As provided for in Operating Order of the Judge assigned to this case (“Operating Order”), which is incorporated
herein by reference, this plan provides for the Debtor to make Mortgage Payments to the Trustee on a conduit basis. In the event
of a conflict between this document and the Operating Order, the terms of the Operating Order control.

          The Debtor shall pay to the Trustee the sum of $2,895.00 per month for a period of SIXTY (60) months, unless all
allowed claims (other than long-term claims) are fully paid pursuant to the plan.

          Except for the initial disbursement after confirmation, which is addressed in IV.A.1. below, the Trustee shall apply any
funds received in the order set forth below:

       1.    Trustee percentage fees;
       2.    Ongoing Conduit Mortgage Payments;
       3.    All other secured claims (including but not limited to Pre-petition Mortgage Payments, Gap Payments, and Post-
             petition Charges) and Debtor’s attorney’s fees included in the Chapter 13 Plan, on a pro rata basis;
       4.    Priority unsecured claims on a pro rata basis;

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    For co-owned property, see In re Ware, 274 B.R. 206 (Bankr. D.S.C. 2001) and Exhibit C to SC LBR 4003-2.
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     5.    General unsecured claims on a pro rata basis.

          Nothing in this plan should be interpreted to impair the right of any party in interest to seek the appropriate relief from
the Court as a result of the Debtor’s failure to make Conduit Mortgage Payments or Plan Payments to the Trustee.

         The Trustee is authorized to increase Debtor’s monthly plan payments by the amount necessary to fund the Plan if the
Plan becomes no longer mathematically viable due to the filing of any of the following:

     1.    Notice of Mortgage Payment Change;
     2.    A compliant POC or any amendments thereto; or
     3.    Notice of Post-petition Fees, Expenses, and Charges (subject to ¶IV(B)(3)(d) below).

     The Trustee may make these payment changes by filing a Trustee’s Notice of Plan Payment Change and providing notice
to the Debtor and Debtor’s attorney

     An increase in Conduit Mortgage Payments may decrease the dividend , if any, paid to general unsecured creditors.
Unless the Debtor is required to pay specific dollar amounts to priority and/or general unsecured creditors under 11
U.S.C. §1325(a) or (b), the Trustee is not required to seek an increase in plan payments in order to achieve or maintain a
certain dividend to general unsecured creditors.

   Nothing herein shall prevent the Debtor from seeking a reduction in plan payments in the event the Conduit
Mortgage Payment decreases for any of the reasons listed in this section

           B. Payments from the debtor directly to creditors: The debtor shall pay all post-petition priority obligations, including
but not limited to taxes and post-petition domestic support, and pay regular payments on assumed executory contracts or leases,
directly to the holder of the claim as the obligations come due, unless otherwise ordered by the Court. The debtor may be
required to pay some or a portion of pre-petition debts directly to a creditor in addition to required payments to the trustee, as
indicated in paragraph II(D) above and/or in the paragraphs that follow.

IV. PLAN DISTRIBUTIONS TO CREDITORS. To receive a distribution from the trustee, a proof of claim, including
adequate supporting documentation, must be filed with the Court. If a claim designated in this plan as secured is filed as an
unsecured claim and the plan is confirmed, the claim may be treated as unsecured for purposes of plan distributions by the
trustee. If a creditor files a proof of claim alleging that the claim is secured, but does not timely object to the confirmation of the
plan and the claim is treated as unsecured in a confirmed plan, the claim may be treated as unsecured for purposes of plan
distributions by the trustee. Confirmation of this plan does not bar a party in interest from objecting to a claim nor from any
actions discovered from the documentation, or lack thereof, in a proof of claim. The trustee, after the deduction of the trustee's
commission and expenses, or the debtor, as indicated, shall make payments as follows:

           A. Attorney for the debtor:

                     1. The debtor and the debtors attorney have agreed to an attorneys fee in the amount of $3,500 for the
services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of $700 was paid prior to the filing of
the case. The remaining fee shall be disbursed by the trustee as follows: Following confirmation of the plan and unless the Court
orders otherwise, the trustee shall disburse $1,500.00 to the attorney from the initial disbursement. 3 Thereafter, the balance of the
attorneys compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining each month after
payment of allowed secured claims and pre-petition arrearages on domestic support obligations. In instances where an attorney
assumes representation in a pending pro se case and a plan is confirmed, a separate order may be entered by the Court, without
further notice, which allows for the payment of a portion of the attorneys fees in advance of payments to creditors.

                     2. If, as an alternative to the above treatment, the debtors attorney has received a retainer and cost advance
and agreed to file fee applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost
advance shall be held in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case,



3
  The chapter 13 trustee shall not at any time disburse to the debtor’s attorney more than: (a) the unpaid balance of (1) the fee to be paid under the
plan pursuant to paragraph 1 herein, or (2) the fee previously applied for and authorized pursuant to paragraph 2 herein, plus (b) any supplemental
fee then applied for and authorized under the terms of the applicable Procedures for Approval of Attorney’s Fees in Chapter 13 Cases.
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the attorney has received $__N/A____ and for plan confirmation purposes only, the fees and expenses of counsel are estimated at
$__N/A_____ or less.

          B. Secured Creditor Claims: The plan treats secured claims as follows:

                      1. General Provisions: The terms of the debtors pre-petition agreement with a secured creditor shall continue
to apply except as modified by this plan, the order confirming the plan, or other order of the Court. Holders of secured claims
shall retain liens to the extent provided by 11 U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided
for by this plan shall timely satisfy any liens in the manner required by applicable law or order of this Court. Any creditor
holding a claim secured by property that is removed from the protection of the automatic stay by order, surrender, or through
operation of the plan will receive no further distribution from the chapter 13 trustee on account of any secured claim. This also
applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the automatic stay by
another lienholder or released to another lienholder, unless the Court orders otherwise. Any funds that would have been paid to
any such creditor will be distributed according to the remaining terms of the plan. (The preceding language does not apply if the
sole reason for its application arises under 11 U.S.C. § 362(c)(3) or (c)(4)). Any creditor affected by this provision may file an
itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the property from the
protection of the automatic stay. Secured creditors that will be paid directly by the debtor may send standard payment and escrow
notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

                    2. Long-term or mortgage debt. No default:

          The debtor is current on obligations to Specialized Loan Servicing and will continue regular payments directly to that
creditor. Description of collateral: 2226 Magnolia Meadows Dr., Mt. Pleasant, SC PID 561-09-00-397 (2nd mortgage account
ending 0131)

         The debtor is current on obligations to SC Housing Corp. and will continue regular payments directly to that creditor.
Description of collateral: 2226 Magnolia Meadows Dr., Mt. Pleasant, SC PID 561-09-00-397 (3rd mortgage)

                    3. Mortgage Payments:

          2226 Magnolia Meadows Dr., Mt. Pleasant, SC PID 561-09-00-397

                     Ongoing Mortgage Payments will be paid by the Trustee to Mortgage Creditors Shellpoint Mortgage,
Servicer for Bank of NY Mellon, 1st mortgage account ending 9279 on a conduit basis. For so long as the Debtor remains
current in Payments pursuant to the plan, and regardless of the date of disbursement of the Conduit Mortgage payment by the
Trustee, the Mortgage Creditor, any servicer, trustee for the loan, or successor-in-interest, shall not: (1) declare the loan in
default; (2) impose any Post-petition charge; or (3) seek to recover or assess late fees or penalties. Payments from the Debtor to
the Trustee that are returned for insufficient funds or for other reasons by the Trustee’s financial institution will be deemed “not
received”. The Mortgage Creditor shall apply all Trustee disbursements as designated by the Trustee, in accordance with the
classes below:

                              a.   Pre-petition Arrears.

         To Shellpoint Mortgage, Servicer for Bank of NY Mellon: The Trustee shall pay the Pre-petition Arrearage
including September 2017 as stated in the creditor’s allowed claim or as otherwise ordered by the Court at the rate of $452.00 or
more per month, along with NO interest.

                              b.   Conduit Mortgage Payments (ongoing Post-petition Monthly Mortgage Payments).

           Beginning in the third calendar month following the filing of the Petition, or conversion, or the occurrence of any other
event requiring the Debtor to make Conduit Mortgage Payments, the Trustee shall pay the ongoing Mortgage Payments due to
Mortgage creditors as indicated in the chart below. Unless otherwise ordered, Conduit Mortgage payments will be retained by the
Trustee until after confirmation of the plan and until such time as either the Debtor files a proof of claim for the Mortgage
Creditor pursuant to 11U.S.C. §501(c), or the Mortgage Creditor files a proof of claim in compliance with the Official Forms.
Mortgage Creditors shall apply the payments designated by the Trustee as Conduit Mortgage Payments solely to post-petition
obligations that accrue during or after the month specified herein. If the Conduit Mortgage Payments are placed into a suspense,
forbearance, or similar account, they will be deemed to have been timely applied pursuant to this subsection. Mortgage Creditors
shall file and serve a Notice of Mortgage Payment Change in accordance with the applicable Official Form, within the deadline
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and in compliance with the service requirements se forth in F.R.B.P. 3002.1(b), to reflect any changes in the monthly mortgage
payments or escrow amounts that occur during the term of the Plan.

Mortgage Creditor’s name including           Ongoing monthly mortgage payment            Does the monthly mortgage payment
servicer/trustee as applicable, at time of   amount*                                     include escrows for:
last notice                                                                                   a) Real estate taxes Yes

                                                                                               b)   Homeowner’s insurance Yes

Shellpoint Mortgage                          $1,813.00
Servicer for Bank of NY Mellon

          *Amount(s) listed above will be deemed to be the amount of the ongoing Monthly Mortgage Payment. The Debtor
          asserts that the above amount is correct as of the last written notice (including escrow amounts, if applicable). Upon the
          filing of a Proof of Claim in compliance with the Official Forms and F.R.B.P. Rule 3002 or 3004, and twenty one (21)
          days after the filing of a Notice of Mortgage Payment Change filed within the deadlines and service requirements set
          forth in F.R.B.P. 3002.1(b) and using the applicable Official Forms, the Trustee shall be authorized to disburse the
          monthly payment amount provided by the Mortgage Creditor, if that amount is higher than stated in the plan.

                               c.          Gap payments. The Post-petition Mortgage Payments for the two (2) months
          immediately after the petition is filed or the case is converted to Chapter 13, or the two (2) months immediately after
          the occurrence of any other event requiring the Debtor to make Conduit Mortgage Payments, shall be cured over the
          full term of the plan at the rate of $61.00 or more per month, along with no interest.

                                d.       Post-petition Charges. This class includes all payments due to the Mortgage Creditor as
          described in any Notice of Post-petition Mortgage Fees, Expenses, and Charges under F.R.B.P. 3002.1 (c) (“3002.1 (c)
          Notice”), filed with the Court. The Debtor will be responsible for reviewing all filed 3002.1(c) Notices within 60 days
          of the date of filing of such notice. If the Debtor fails to object within 60 days, then the Trustee may pay these amounts
          as filed, on a pro rata basis as funds are available. The Debtor’s failure to object will be deemed as a waiver of any
          claim against the Trustee for payment of these amounts. Any request for refund of overpayment or obligation for
          underpayment will be the sole responsibility of the Debtor. Once the Trustee has filed a Notice of Final Cure under
          F.R.B.P. 3002.1(f), the Debtor shall be directly responsible for any further Post-petition fees and charges.

                          e.      Post-petition Arrears resulting from the Debtor’s post-petition delinquency in either
          Conduit Mortgage Payments or plan payments. N/A

                            To (creditor name): The Trustee shall pay the Post-petition Arrearage for the following calendar
          month(s): ______________. Disbursements will be made at the rate of $payment amount or more per month, [along
          with (percent)% interest, if applicable]

           The Debtor reserves the right to seek loss mitigation or modification of the mortgage loan using the Loss
Mitigation/Mortgage Modification Portal procedures described in Chambers Guidelines during the bankruptcy case, which may
be effective upon subsequent approval by order of the Court.

                   4. Secured portion of claims altered by valuation and lien avoidance: The trustee shall pay Wells Fargo
Dealer Services, secured by 2012 Honda Accord, the sum of $205.00 or more per month, along with 5.25% interest until the
secured claim of $10,750.00 established above is paid in full. The remaining portion of the allowed claim will be treated as a
general unsecured claim.

                    5. Other secured debts (allowed claim to be paid in full without valuation or avoidance of lien): The trustee
shall pay Seaside Farms Single Family HOA secured by HOA assessments through December 31, 2017the sum of $69.00 or
more per month, along with 5.25% interest until the allowed secured claim is paid in full.

                     6. Surrender of property: The debtor will surrender the following property upon confirmation of the plan.
The order confirming plan shall terminate the automatic stay as to that property: (Name of creditor and property address or
collateral description). Any creditor affected by this provision may file an itemized proof of claim for any unsecured deficiency
within a reasonable time after the surrender of the property. N/A
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                      7. Secured tax debt: The trustee shall pay (creditor name) the sum of $ (payment amount) or more per month
until the (net balance or value) of creditors secured claim plus (percentage) % interest has been paid. If the lien is to be valued,
the debtor shall file a separate motion to value the claim and establish priority of any remaining tax obligations. If a tax priority
creditor files a claim designated as secured, is not treated as secured in this paragraph, and does not timely object to confirmation
of this plan, then the claim may be paid as a priority claim for purposes of distributions from the trustee. N/A

          C. Priority Creditors: Priority claims shall be paid as follows:

                    1. Domestic Support Claims. 11 U.S.C. § 507(a)(1): N/A

                            a. Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation
arrearage to (name of DSO creditor), at the rate of $ (amount) or more per month until the balance,without interest, is paid in full.

                             b. The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. §
101(14A) on a timely basis directly to the creditor.

                               c. Any party entitled to collect child support or alimony under applicable non-bankruptcy law may
collect those obligations coming due after this case was filed from the income or assets of the debtor-parent/spouse without
further order or relief from the automatic stay. (Any claim for child support or alimony due before this case was filed must be
collected in accordance with 11 U.S.C. § 507(a)(1) and 11 U.S.C. § 1322(a)(2).)

                    2. Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a
pro rata basis.     N/A

          D. Executory Contracts and Unexpired Leases: Regular payments that arise post-petition under an executory contract or
lease that is being assumed shall be paid directly by the debtor according to the terms of the contract or lease. Pre-petition
defaults will be cured by payments of the sum of $ (payment amount) or more per month by the trustee or the debtor according to
paragraph II(D). Claims arising from the rejection of executory contracts or leases shall be general unsecured claims unless
otherwise ordered by the Court. N/A

          E. General Unsecured Creditors: General unsecured creditors shall be paid allowed claims pro rata by the trustee to the
extent that funds are available after payment of all other allowed claims. The debtor does not propose to pay 100% of general
unsecured claims.

V. PROPERTY OF THE ESTATE, STATUS AND OBLIGATIONS OF THE DEBTOR AFTER CONFIRMATION:
           Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of
the estate shall remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of
property of the estate. The debtor is responsible for protecting the non-exempt value of all property of the estate and for
protecting the estate from any liability resulting from operation of a business by the debtor. Nothing herein is intended to waive
or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the debtor.

           Moreover, the debtor specifically reserves any currently undiscovered or future claims, rights or cause of action the
debtor may have, regarding any issues not specifically addressed or determined by the plan, against any creditor or other party in
interest including, but not limited to, violations of applicable consumer protections codes and actions under 11U.S.C. §§542,
543, 544, 547 and 548.
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                                                                           /s/ Elizabeth M. Atkins
            Charleston, South Carolina                                        Elizabeth M. Atkins, Esquire D.C.I.D. 4436
            Dated: November 30, 2017                                          Attorney for Debtors
                                                                              778 St. Andrews Blvd.
                                                                              Charleston, SC 29407
                                                                              Telephone: (843) 763-0333




                                                                              /s/Stephanie Marie Callahan
                                                                              Debtor

                                                             CERTIFICATE OF SERVICE

The above signing parties certify that the foregoing Notice, Plan and Motions was served on all creditors and parties in interest entitled to such
notice on the above stated date. The list of the specific names and addresses of parties served with the plan is attached to the plan filed with the
Court.
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